Case 3:21-cv-04565-MAS-LHG Document6 Filed 11/08/21 Page 1 of 1 PagelD: 76

UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY

TREMAYNE DURHAM,
Plaintiff, Civil Action No. 21-4565 (MAS) (LHG)

Vv.

ORDER
G. KELLEY, et al.,

Defendants.

 

 

This matter having been opened to the Court by Plaintiff's October 17, 2021 letter (ECF
No. 4) asking the Court to enter a final order in this matter as Plaintiff does not intend to amend
his complaint,
ih
IT IS on this tv day of November, 2021, ORDERED that:
1. The Clerk shall REOPEN the case by making a new and separate docket entry reading
“CIVIL CASE REOPENED.”
2. Plaintiff's complaint (ECF No. 1) is dismissed WITH PREJUDICE for failure to state
a claim for relief.
3. The Clerk of the Court shall send a copy of this Order to Plaintiff at the address on file
and shall CLOSE the file.
[s_thipy

MICHAEL A. Sipe
UNITED STATES DISTRICT JUDGE
